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 4
   Attorneys for Plaintiff
 5 AURORA MEDRANO

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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10

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12                                                    Case No.: 22-cv-01986-CAB-KSC
13

14   AURORA MEDRANO,
                                                      NOTICE OF SETTLEMENT
15                    Plaintiff,
16
           vs.
17
     CITIBANK, N.A., and DEPARTMENT
18   STORES NATIONAL BANK
19
                                                      Hon. Magistrate Karen S. Crawford
20                  Defendant(s),

21

22 TO THE HONORABLE COURT AND ALL PARTIES HEREIN AND THEIR

23 RESPECIVE COUNSELF OF RECORD:

24        PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
25 Plaintiff AURORA MEDRANO (“Plaintiff”) and CITIBANK, N.A. and

26 DEPARTMENT STORES NATIONAL BANK, (collectively “Defendants”) have

27 agreed to terms to settle claims herein, subject to the full execution of a confidential

28 agreement.

                                                 -1-
                                         Notice of Settlement
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 1         Plaintiff intends to file a request for dismissal with prejudice as to all
 2 Defendants within sixty (60) days or less. In light of the settlement, Plaintiff

 3 respectfully requests the Court vacate all future hearings and deadlines in this case.

 4

 5
     Dated: January 18, 2023,                By:      s/ Ahren A. Tiller
 6                                                    ahren.tiller@blc-sd.com
 7
                                                      Ahren A. Tiller
 8                                                    BLC Law Center, APC
 9                                                    Attorneys for Plaintiff
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                                          Notice of Settlement
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 1                                 PROOF OF SERVICE
 2        I, Ahren A. Tiller, am a resident of the State of California, over the age of
 3 eighteen (18) years, and not a party to this action. My business address is 1230

 4 Columbia St., Ste 1100 San Diego, Ca 92101. I am an attorney admitted to practice

 5 in the United States District Court for the Southern District of California.

 6

 7        I possess personal knowledge of the facts contained herein, and do hereby
 8 declare as follows:

 9 On January 18, 2023, I served the following documents:
10      NOTICE OF SETTLEMENT
11 By the following method(s):

12      ECF/Notice of Electronic Filing (“NEF”):
13        On: Elliot G. Johnson – johnsoneg@ballardspahr.com
14

15        I declare under the penalty of perjury under the laws of the United States of
16 America that the foregoing is true and correct.

17

18 Dated: January 18, 2023,                By:      s/ Ahren A. Tiller
                                                    ahren.tiller@blc-sd.com
19

20                                                  Ahren A. Tiller
                                                    BLC Law Center, APC
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                                                    Attorneys for Plaintiff
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                                        Notice of Settlement
